                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
v.                                               §                CRIMINAL NO. H-02-633-02
                                                 §
RUDY RUDOLPH                                     §                 (Civil Action No. H-05-0669)
                                                 §

                                             ORDER

       On March 9, 2005, the Court denied a motion filed by the defendant for relief from

his conviction and sentence under 28 U.S.C. § 2255. The defendant has filed separate

motions for reconsideration. (Criminal Docket Nos. 154, 155). The defendant’s motions are

denied for reasons that follow.

       The defendant’s first motion for reconsideration, filed on March 22, 2005, is governed

by Rule 59(e) of the Federal Rules of Civil Procedure.              (Criminal Docket No. 154).

Generally, a motion filed within ten days of judgment is treated as a motion to alter or amend

under Rule 59(e). 1 See Edward H. Bohlin Co. v. Banning Co., 6 F.3d 350, 353 (5th Cir.

1993) (citing Lavespere v. Niagara Mach. & Tool Works Inc., 910 F.2d 167, 173 (5th Cir.

1990), and Harcon Barge Co. v. D&G Boat Rentals, 784 F.2d 665, 669-70 (5th Cir. 1986)

(en banc)). A Rule 59(e) motion may be granted if the moving party demonstrates any of the

following: (1) the judgment was based upon a manifest error of law or fact; (2) there is


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       There is no “motion for ‘reconsideration’ in the Federal Rules of Civil Procedure.” Bass v.
       United States Dep’t of Agriculture, 211 F.3d 959, 962 (5th Cir. 2000). Rather, if filed within
       ten days of the district court’s judgment, such a motion is construed as filed pursuant to Rule
       59(e). See id. Motions that are not timely under Rule 59 must be treated as motions filed
       under Rule 60(b). See Hamilton Plaintiffs v. Williams Plaintiffs, 147 F.3d 367, 371 n.10 (5th
       Cir. 1998).
newly discovered or previously unavailable evidence; (3) to prevent manifest injustice; and

(4) there is an intervening change in controlling law. See 11 C HARLES A LAN W RIGHT &

A RTHUR R. M ILLER, F EDERAL P RACTICE AND P ROCEDURE § 2810.1 (2d ed. 1995).

       The defendant’s second motion for reconsideration, filed on M arch 28, 2005, is

governed by Rule 60(b) of the Federal Rules of Civil Procedure. Under Rule 60(b), a district

court “may relieve a party” from the effects of a “final judgment, order, or proceeding for

the following reasons: (1) mistake, inadvertence, surprise, or excusable neglect; (2) newly

discovered evidence which by due diligence could not have been discovered in time to move

for a new trial under Rule 59(b); (3) fraud (whether heretofore denominated intrinsic or

extrinsic), misrepresentation, or other misconduct of an adverse party; (4) the judgment is

void; (5) the judgment has been satisfied, released, or discharged . . . ; or (6) any other reason

justifying relief from the operation of the judgment.” F ED. R. C IV. P. 60(b). “The burden

of establishing at least one of these ‘exacting substantive requirements’ is on the movant,”

and a determination of whether that showing has been made is within the district court’s

discretion. Resolution Trust Corp. v. Holmes, 846 F. Supp. 1310, 1314 (S. D. Tex. 1994)

(quoting Lavespere v. Niagara Mach. & Tool Works, Inc., 910 F.2d 167, 173-75 (5th Cir.

1990), cert. denied, 510 U.S. 859 (1993)).

       In this instance, Rudolph sought relief from his conviction under 28 U.S.C. § 2255

on three related grounds involving whether he was denied effective assistance of counsel

because his attorney failed to perfect and file a direct appeal. (Criminal Docket No. 148).

Specifically, Rudolph complained that his counsel failed to object at sentencing to the


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amount of restitution ordered by the Court or to pursue an appeal based on the objections that

he did raise to certain unidentified enhancements used to increase the sentence. Observing

that none of the claims implicated the validity of Rudolph’s guilty plea, the Court dismissed

his § 2255 motion because the written plea agreement contains a valid waiver of collateral

review.

       Rudolph now professes that he was confused about his guilty plea and uncertain about

the range of sentence. Rudolph does not dispute, however, that the claims raised in his

§ 2255 motion do not contest the voluntary, knowing character of his guilty plea and they

do not otherwise implicate the validity of the waiver found in his written plea agreement.

Under these circumstances, the waiver bars his claims. See United States v. White, 307 F.3d

336, 343 (5th Cir. 2002). Rudolph has failed to demonstrate that the dismissal order was

entered in error under either Rule 59(e) or Rule 60(b) of the Federal Rules of Civil

Procedure.

       Accordingly, it is ORDERED that his post-judgment motions seeking relief from the

final judgment (Criminal Docket Nos. 154, 155) are DENIED.

       The Clerk will provide copies of this order to the parties.

       SIGNED at Houston, Texas, on May 9, 2005.




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